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                         UNITED STATES DISTRICT COURT FOR THE
 1
                            CENTRAL DISTRICT OF CALIFORNIA
 2   ______________________________________
     JANE DOE, an individual,              )         Case No. 2:19-cv-1005-AB-KS
 3                  Plaintiff,             )
                                           )
 4          v.                             )         JOINT STIPULATION FOR DISMISSAL
                                           )         WITH PREJUDICE OF JOHN DOE’S
 5   CALIFORNIA INSTITUTE OF               )         FIRST AMENDED CROSS-CLAIMS
 6   TECHNOLOGY, a California Corporation; )         AGAINST CALIFORNIA INSTITUTE OF
     JOHN DOE, an individual; KEVIN        )         TECHNOLOGY
     GILMARTIN, an individual; and DOES 1  )
 7                                         )
     through 100, inclusive,               )
 8                  Defendants.            )
     _____________________________________ )
 9   JOHN DOE, an individual,              )
                    Counterclaimant,       )
10                                         )
           v.                              )
11                                         )
                                           )
12   JANE DOE, an individual,              )
                    Counter Defendant.     )
13
     _____________________________________ )
                                           )
14   JOHN DOE, an individual,              )
                    Cross-Claimant,        )
15                                         )
           v.                              )
16                                         )
                                           )
17   CALIFORNIA INSTITUTE OF               )
     TECHNOLOGY, a California Corporation, )
18                  Cross-Defendant.       )
                                           )
19                                         )
20
            TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF
21
22   RECORD:

23          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Cross-
24
     Claimant John Doe and Cross-Defendant California Institute of Technology stipulate and
25
26   jointly request that this Court enter this dismissal with prejudice of John Doe’s First

27   Amended Cross-Claim Against Cross-Defendant California Institute of Technology, in its
28

          JOINT STIPULATION FOR DISMISAL OF JOHN DOE’S FIRST AMENDED CROSS-CLAIMS
                                                                  2:19-cv-1005-AB-KS
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 1   entirety, in the above-entitled Action. Each party shall bear his/its own costs and attorney

 2   fees.
 3
 4
      DATED: January 23, 2020                      CONRAD O’BRIEN PC
 5
 6                                                 By: /s/ Patricia M. Hamill
                                                       Patricia M. Hamill
 7
 8                                                 Attorneys for Cross-Claimant John Doe
 9
10    DATED: January 23, 2020                      HUESTON HENNIGAN LLP
11                                                 By: /s/ Moez M. Kaba
12                                                     Moez M. Kaba
13                                                 Attorneys for Cross-Defendant California
14                                                 Institute of Technology
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             JOINT STIPULATION FOR DISMISAL OF JOHN DOE’S FIRST AMENDED CROSS-CLAIMS
                                                                     2:19-cv-1005-AB-KS
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 1                                        PROOF OF SERVICE
 2          I, Andrew S. Gallinaro, declare:
 3           I am employed in the County of Philadelphia, Commonwealth of Pennsylvania, and am
 4   admitted to practice before this Court pro hac vice. I am over the age of 18 and not a party to the
     within action. My business address is Conrad O’Brien PC, 1500 Market Street, West Tower, Suite
 5   3900, Philadelphia, PA 19102.

 6           On January 23, 2020, I served the document(s) described as JOINT
     STIPULATIONFOR DISMISSAL WITH PREJUDICE OF JOHN DOE’S FIRST
 7   AMENDED CROSS-CLAIMS AGAINST CALIFORNIA INSTITUTE OF
     TECHNOLOGY
 8   on the interested parties via the Court’s CM/ECF:

 9    Anahita Sedaghatfar                                            Attorneys for Plaintiff
      THE COCHRAN FIRM-CALIFORNIA                                    JANE DOE
10    4929 Wilshire Boulevard, Suite 1010
11    Los Angeles, California 90010
      Telephone: (323) 435-8205
12    Facsimile: (323) 282-8280
      Email: asedaghatfar@cochranfirm.com
13                                                                   Attorneys for Defendant
      Moez M. Kaba
14    HUESTON HENNIGAN LLP                                           CALIFORNIA INSTITUTE OF
      523 West 6th Street, Suite 400                                 TECHNOLOGY, KEVIN
15                                                                   GILMARTIN
      Los Angeles, California 90014
16    Telephone: (213) 788-4543
      Email: mkaba@hueston.com
17
18           I declare under penalty of perjury under the laws of the United States that the foregoing is
     true and correct. Executed on the 23rd day of January 2020, at Philadelphia, Pennsylvania.
19
20
21                                                                /s/ Andrew S. Gallinaro
22                                                                Andrew S. Gallinaro

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           JOINT STIPULATION FOR DISMISAL OF JOHN DOE’S FIRST AMENDED CROSS-CLAIMS
                                                                   2:19-cv-1005-AB-KS
